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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 IHTESHAM ANSARI,
                                                        Case No. 1:18-cv-04521
 Plaintiff,

 v.                                                     Honorable Ruben Castillo

 NATIONWIDE CREDIT &
 COLLECTION INC.,                                       Honorable Jeffrey T. Gilbert
                                                        Magistrate Judge
 Defendant.

                                   INITIAL STATUS REPORT

        Pursuant to Fed. R. Civ. P. 26(f) and this Court’s Case Procedures, the parties submit the

following Initial Status Report.

A.      Nature of the Case

        1.     Basis for jurisdiction, nature of the claims and counterclaims

               The Court has subject matter jurisdiction over Plaintiff’s automatic stay claims

               pursuant to 11 U.S.C. § 362(k). The Court has federal question jurisdiction over

               Plaintiff’s Fair Debt Collection Practices Act (“FDCPA”) claims pursuant to 15

               U.S.C. § 1692k(d) and 28 U.S.C. § 1331.             The Court has federal question

               jurisdiction over Plaintiff’s Telephone Consumer Protection Act (“TCPA”) claims

               pursuant to 28 U.S.C. § 1331. Plaintiff’s claims are founded on alleged improper

               collection activities relating to calls placed to Plaintiff by Defendant in violation of

               11 U.S.C. § 362(a)(6) as well as 15 U.S.C. §§ 1692d and d(5); as well as calls

               placed to Plaintiff by an automated telephone dialing system or an artificial or pre-



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             recorded voice to a telephone number assigned to a cellular telephone service by

             Defendant in violation of the 47 U.S.C. §227 (b)(1)(A)(iii).

      2.     Relief sought by plaintiff, including computation of claimed damages, if

             available.

             As a result of Defendant’s alleged violation(s) of 11 U.S.C. § 362(a)(6), Plaintiff is

             seeking (i) any actual damage, (ii) any punitive damages, and (iii) the costs of the

             action, together with reasonable attorney’s fees as determined by the court. As a

             result of Defendant’s alleged violation(s) of 15 U.S.C. §§ 1692d and d(5), Plaintiff

             is seeking (i) any actual damage, (ii) such additional damages as the court may

             allow, but not exceeding $1,000.00, and (iii) the costs of the action, together with

             reasonable attorney’s fees as determined by the court. As a result of Defendant’s

             alleged violations of 47 U.S.C. §227 (b)(1)(A)(iii), Plaintiff is seeking no less than

             $500.00 in statutory damages, for each and every violation, or $5,000.00. As a

             result of Defendant’s alleged knowing and willful violations of 47 U.S.C. §227

             (b)(1)(A)(iii), Plaintiff is seeking up to $1,500.00 in treble damages, for each and

             every violation, or $15,000.00.

      3.     Names of any parties that have not been served.

             None.

      4.     Major factual and legal issues.

             (1) Whether Plaintiff consented to receive calls made by an automated telephone

             dialing system or an artificial or pre-recorded voice to a telephone number assigned

             to a cellular telephone service? (2) Whether Defendant utilized an automated

             telephone dialing system or an artificial or pre-recorded voice to make a call
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             without the prior express consent to a telephone number assigned to a cellular

             telephone service? (3) Whether Plaintiff revoked express consent to be called using

             any reasonable method? (4) Whether an award of treble damages is warranted? (5)

             Whether Defendant engaged in conduct to harass, oppress, or abuse Plaintiff? (6)

             The amount, frequency, and/or number of calls made by Defendant using an

             automated telephone dialing system to Plaintiff’s cellular telephone service? (7)

             Whether Defendant had knowledge that a bankruptcy case had been filed? (8)

             Whether Defendant committed an intentional act that violates the stay?            (9)

             Whether Defendant has any defenses to Plaintiff’s claims? (10) Whether the debts

             Defendant attempted to collect were included in the subject bankruptcy

             proceeding? (11) Whether Plaintiff suffered any damages and the extent of any

             damages?

      5.     Citations to key authorities which will assist the Court in understanding and

             ruling on the issues.

             None.

B.    Preparation of Draft Scheduling Order

      1.     The general type of discovery needed;

             Oral and written.

      2.     A date to issue written discovery;

             October 12, 2018

      3.     A date for the deadline for the amendment of pleadings;

             December 11, 2018.

      4.     A fact discovery completion date;
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             February 8, 2019.

      5.     An expert discovery completion date, including dates for the delivery of expert

             reports; and

             April 12, 2019.

             Plaintiff’s expert report by March 1, 2019.

             Defendant’s expert report by March 22, 2019.

      6.     A date for the filing of dispositive motions.

             May 10, 2019.

C.    Trial Status

      1.     Whether or not a jury has been requested.

             Plaintiff demanded a trial by jury.

      2.     Probable length of the trial.

             The parties believe a jury trial will last no more than three (3) days.

D.    Consent to Proceed Before a Magistrate Judge

      1.     Whether or not the parties will consent to proceed before a Magistrate Judge

             for all proceedings including trial.

             The parties will not consent to proceed before a Magistrate Judge for all

             proceedings including trial.

E.    Settlement Status

      1.     Whether or not settlement discussions have been held and the status of those

             discussions, if any.

             No settlement discussions have been held.

September 6, 2018                                  Respectfully submitted,
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